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                                                    Exhibit A to the First Amended Complaint
Location: Brooklyn, NY                                                                                 IP Address: 24.228.200.32
Total Works Infringed: 30                                                                              ISP: Optimum Online
 Work     Hashes                                                                 UTC            Site          Published      Registered   Registration
 1        Info Hash: 4BFB996E7245FFDB008B505DBD0B185383EE9C78                     04/08/2024 TushyRaw         04/02/2024     04/12/2024   PA0002465217
          File Hash:                                                                 12:09:45
          9FA7B64A7275722F0FFE2F534CF6D9DFA0C8E5C3D02C70D20D48B6037F4A0EB8
 2        Info Hash: 912841C5633B66B1280330F30BC05965ACB621ED                     03/31/2024 TushyRaw         03/26/2024     04/12/2024   PA0002465218
          File Hash:                                                                 09:52:55
          AFE53CB818AC9E79F089055E066D82429E6B86F8225144EEFF81CF5B34C36302
 3        Info Hash: 812BF9B1D194EE969EBF603B8DC9F81FD3AAD3B2                     03/27/2024 Tushy            03/24/2024     04/12/2024   PA0002465214
          File Hash:                                                                 11:08:10
          362DCDE34386F8BCF539FA8D4E6F73B215735E191C788DAC3DDC7F2E2A71C871
 4        Info Hash: AB28ABFDF0826EFCA0D0BDCCB9618831EB83A045                     03/20/2024 TushyRaw         03/19/2024     04/12/2024   PA0002465215
          File Hash:                                                                 11:54:46
          505265ED8476FE699DAA0AC2A3DDDA981DE782B2B51A5F78504F910717975886
 5        Info Hash: ACB75BE5591A279CDAAF8C9D756391CE170C809D                     03/18/2024 Tushy            03/17/2024     04/12/2024   PA0002465212
          File Hash:                                                                 10:14:37
          3322551557F0CFFBA0BF84CEA5AF47466EDE0CF2B7B2BCEDDAE0D52B55DD59BD
 6        Info Hash: 1ED1691967611BE5EF32EC8F4F9AAC2BDE334999                     03/18/2024 TushyRaw         03/12/2024     04/12/2024   PA0002465213
          File Hash:                                                                 10:08:04
          5F46D7F538CE9AE03DE68E8EBA53CD60F48A4EE3984D8303CA2611E1B649401B
 7        Info Hash: 24C894562720271CCDEC8C7166906BB55C2837C9                     03/18/2024 Tushy            12/27/2017     01/23/2018   PA0002101754
          File Hash:                                                                 09:50:41
          15B2942EA1597ED02D7B646414889D5AC17168AAF6BD7412ACB1AFC5C78846C6
 8        Info Hash: B2D673DB4DB2FE02E13948D817F002625C590F3E                     03/18/2024 Tushy            03/10/2024     04/12/2024   PA0002465216
          File Hash:                                                                 09:31:47
          50E8A5EA6AB012B286B8AD4056190F20D0D6CAF38B7C2C95923ACD0D32ECDFF1
 9        Info Hash: 304B00DACFDE72D4520AA05D45928B065CEC3C91                     03/06/2024 Tushy            03/03/2024     03/12/2024   PA0002459337
          File Hash:                                                                 10:54:25
          86CC519F161A51143998FFF1D7AAF6B713AF4FEE9A47422453356FBBF32EBD22
 10       Info Hash: DE9F13A2D901EF407B24B6DDFF3437FF3FE43BB7                     03/03/2024 Tushy            02/25/2024     03/12/2024   PA0002459336
          File Hash:                                                                 11:17:35
          B93F8A7479E482B5564716930585DFB0D30404174FA1D49CBE66116D8DD57C34
 11       Info Hash: 8D994EBFE8153FB5183CD83C1B4A63C7D0636BF1                     02/19/2024 Tushy            02/18/2024     03/12/2024   PA0002459335
          File Hash:                                                                 04:00:43
          1DE8475A2EC9CF08489A9D94594F543D8799F32C9F9F8AB51E2B6BFD5AC9E831
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                                                              135
Work   Hashes                                                              UTC             Site       Published    Registered   Registration
12     Info Hash: B3FD5A9A49EB999477DD60AEA96E5B8A97845D16                  02/19/2024 TushyRaw       02/13/2024   03/12/2024   PA0002459334
       File Hash:                                                              03:51:54
       BF7795FFE6EDD30890BB70161B1089432E794FD6ADF9080C6F3B0E8611C7FA42
13     Info Hash: BD6B08DCCF1F44673456877AB92AD4748DB974E3                  02/13/2024 Tushy          02/11/2024   03/12/2024   PA0002459333
       File Hash:                                                              12:14:15
       7812610AE08941D192AAA2159AFFC47BAF12BDD65728F6FB91A9F35581051C6B
14     Info Hash: 277233BD7B58545CC563579D76D27146C6D77D9A                  02/11/2024 TushyRaw       02/06/2024   02/13/2024   PA0002454773
       File Hash:                                                              15:27:41
       CE68E151F549DBE7BC9D760247286AEC8283482ACD0F15A898DA65F270BD8154
15     Info Hash: 012281DBEA1ADDB0B8BE8F0F5D4F24F51A713966                  01/31/2024 TushyRaw       01/30/2024   02/13/2024   PA0002454780
       File Hash:                                                              21:58:04
       F5AB74FEFEAC9D817281F1A35665D95EB1400AC5B87782AD4731070F2EB5B827
16     Info Hash: 808D0DACC7E9FBB35EE771957354DFF788D34F47                  01/26/2024 Tushy          12/11/2022   01/10/2023   PA0002389623
       File Hash:                                                              23:37:24
       C1168F6A49577C2D26E15D18ED3F1EDE7096F3EAAD0B5A53F4CACE7672C77937
17     Info Hash: 1D2D9B7F6168A9A27348B0727A1B61595C287E94                  01/26/2024 Tushy          01/21/2024   02/13/2024   PA0002454783
       File Hash:                                                              03:50:38
       D4071019BF3FA45590345D7DCE653EA2F6FAECD34C981F576FF45AEAD6019E36
18     Info Hash: B596E7253378C3ADDC059731D97A7D14CEB2A3AA                  01/26/2024 TushyRaw       01/23/2024   02/13/2024   PA0002454782
       File Hash:                                                              03:32:27
       B77C95115EBB0FC0C3AF3FE1DEE6F9F0DDC3FDD7DAB0235058BE7D1776753458
19     Info Hash: 0CF0239FEBFDEBFDFE03ABDE2B921229667CFF09                  01/20/2024 Vixen          01/19/2024   02/13/2024   PA0002454774
       File Hash:                                                              19:56:22
       23D07458788E923EF9A983566D2FDB8D2EAC4D4D0E8C5544E32A0DAA9404FEBE
20     Info Hash: 7CFD317743E3A1E2C24223EB2171FEBEAD05F16E                  01/16/2024 Tushy          07/23/2023   08/17/2023   PA0002425533
       File Hash:                                                              20:51:59
       2C05F4C54AFCBCD97030D9F2819D1D21AEA172DACD0B74678A8FC181D2FEB6DD
21     Info Hash: 192D90AA4CEF89439DAF59A2855B0CB547ECC2F5                  01/16/2024 Tushy          01/14/2024   02/14/2024   PA0002455009
       File Hash:                                                              11:56:13
       2D1AAA2ED3B5798F4C25FB40DEAB4590EDDFCA3E3780D643C040087410513F78
22     Info Hash: CBB079EE5A6F104B57A3594866686A026D1A3760                  01/13/2024 TushyRaw       01/10/2024   02/13/2024   PA0002454777
       File Hash:                                                              14:22:39
       186FABA1014438220A8236BEC6CF5B4BF5AC52076BF4B99D715368B292C7D6E6
23     Info Hash: 86EACEF33A470A47EEB133943FF04EB390F897A8                  01/09/2024 Tushy          01/07/2024   01/16/2024   PA0002449442
       File Hash:                                                              11:11:20
       D32F2B4068A7598B50A5DD4C795E35593F12ADD352FB752D4A20AE6A43828D9F
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                                                              136
Work   Hashes                                                              UTC             Site       Published    Registered   Registration
24     Info Hash: EB56AC998E3A2C07591716CAA9FF549D1D5B1AD8                  01/03/2024 TushyRaw       12/27/2023   01/16/2024   PA0002449500
       File Hash:                                                              02:06:15
       2BAF98085ED74B4C6261350CBE38A4062553CBD41A23138CC87234778BBA17A6
25     Info Hash: A6498D332D6E74DE1FE34F835F21A7793678F5F3                  01/01/2024 Tushy          12/31/2023   01/16/2024   PA0002449508
       File Hash:                                                              17:27:09
       F1B1BE96C9BDF644D452077B3684D90DA6533BACE25323644975ADC0F2D30C29
26     Info Hash: 0E3F0D32BB1209102CF9F8B2ED78EB097FE552B3                  12/27/2023 Tushy          12/10/2023   01/16/2024   PA0002449506
       File Hash:                                                              23:54:12
       3C32BAE4BCC095F84C752AF021479C2E1E59430A9D982EC662931391CC202E55
27     Info Hash: F445823EE2BB5E4BF4886EB8490DF47ACC438C4E                  12/10/2023 Tushy          05/31/2018   07/14/2018   PA0002131771
       File Hash:                                                              12:29:44
       22227D1C627D8CA3F7FA22811CBBBA6684771E7EC3663464BE82D1F688B65A95
28     Info Hash: BB3215E8561A88B67F8C6EE1280DB47FB848E8BE                  12/08/2023 TushyRaw       12/06/2023   12/13/2023   PA0002445426
       File Hash:                                                              12:01:52
       27C094AC9621E2D7E85C275B3C1A8F0F8C0444389E8452F00C67CCF08102600F
29     Info Hash: 09F245A9CD6C04687D3ADD108A6C07E1F213CB37                  12/05/2023 Tushy          12/03/2023   12/13/2023   PA0002445432
       File Hash:                                                              02:59:51
       CB06A0BFDCA74F113593C93795285ED8CAD43068075810F7EC1182E7FC2646EF
30     Info Hash: 0D8A25293E63F2C973DE5ECEB945D7AB4FACA6A5                  12/02/2023 TushyRaw       11/29/2023   12/13/2023   PA0002445424
       File Hash:                                                              11:14:00
       0B9058AA7DD3D8AEA6AAC593407E27CE1A74BA3EDB7F2FC757ACE73FBFA44707
